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 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Carlos Marsh,                            Case No.

12                Plaintiff,
                                                 Complaint For Damages And
13        v.                                     Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
14      2042 Town Square West LLC, a             Act; Unruh Civil Rights Act
        California Limited Liability
15      Company;
        8454 Steller Drive, LLC, a
16      California Limited Liability
        Company;
17      Goodwill Industries of Southern
        California, a California Nonprofit
18      Corporation; and Does 1-10,

19                Defendants.

20
21          Plaintiff Carlos Marsh complains of 2042 Town Square West LLC, a

22    California Limited Liability Company; 8454 Steller Drive, LLC, a California

23    Limited Liability Company; Goodwill Industries of Southern California, a

24    California Nonprofit Corporation; and Does 1-10 (“Defendants”), and alleges

25    as follows:

26
27
        PARTIES:
28
        1. Plaintiff is a California resident with physical disabilities. He is

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 1    paralyzed and cannot walk. He uses a wheelchair for mobility.
 2      2. Defendants 2042 Town Square West LLC and 8454 Steller Drive, LLC
 3    owned the real property located at or about 2140 E. Palmdale Blvd., Palmdale,
 4    California, in September 2019.
 5      3. Defendants 2042 Town Square West LLC and 8454 Steller Drive, LLC
 6    own the real property located at or about 2140 E. Palmdale Blvd., Palmdale,
 7    California, currently.
 8      4. Defendant Goodwill Industries of Southern California owned Goodwill
 9    located at or about 2140 E. Palmdale Blvd., Palmdale, California, in
10    September 2019.
11      5. Defendant Goodwill Industries of Southern California owns Goodwill
12    (“Store”) located at or about 2140 E. Palmdale Blvd., Palmdale, California,
13    currently.
14      6. Plaintiff does not know the true names of Defendants, their business
15    capacities, their ownership connection to the property and business, or their
16    relative responsibilities in causing the access violations herein complained of,
17    and alleges a joint venture and common enterprise by all such Defendants.
18    Plaintiff is informed and believes that each of the Defendants herein,
19    including Does 1 through 10, inclusive, is responsible in some capacity for the
20    events herein alleged, or is a necessary party for obtaining appropriate relief.
21    Plaintiff will seek leave to amend when the true names, capacities,
22    connections, and responsibilities of the Defendants and Does 1 through 10,
23    inclusive, are ascertained.
24
25      JURISDICTION & VENUE:
26      7. The Court has subject matter jurisdiction over the action pursuant to 28
27    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
28    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.


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 1      8. Pursuant to supplemental jurisdiction, an attendant and related cause
 2    of action, arising from the same nucleus of operative facts and arising out of
 3    the same transactions, is also brought under California’s Unruh Civil Rights
 4    Act, which act expressly incorporates the Americans with Disabilities Act.
 5      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 6    founded on the fact that the real property which is the subject of this action is
 7    located in this district and that Plaintiff's cause of action arose in this district.
 8
 9      FACTUAL ALLEGATIONS:
10      10. Plaintiff went to the Store in September 2019 with the intention to avail
11    himself of its goods, motivated in part to determine if the defendants comply
12    with the disability access laws.
13      11. The Store is a facility open to the public, a place of public
14    accommodation, and a business establishment.
15      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
16    to provide accessible sales counters in conformance with the ADA Standards
17    as it relates to wheelchair users like the plaintiff.
18      13. On information and belief, the defendants currently fail to provide
19    accessible sales counters.
20      14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
21    personally encountered these barriers.
22      15. By failing to provide accessible facilities, the defendants denied the
23    plaintiff full and equal access.
24      16. The failure to provide accessible facilities created difficulty and
25    discomfort for the Plaintiff.
26      17. The defendants have failed to maintain in working and useable
27    conditions those features required to provide ready access to persons with
28    disabilities.


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 1      18. The barriers identified above are easily removed without much
 2    difficulty or expense. They are the types of barriers identified by the
 3    Department of Justice as presumably readily achievable to remove and, in fact,
 4    these barriers are readily achievable to remove. Moreover, there are numerous
 5    alternative accommodations that could be made to provide a greater level of
 6    access if complete removal were not achievable.
 7      19. Plaintiff will return to the Store to avail himself of its goods and to
 8    determine compliance with the disability access laws once it is represented to
 9    him that the Store and its facilities are accessible. Plaintiff is currently deterred
10    from doing so because of his knowledge of the existing barriers and his
11    uncertainty about the existence of yet other barriers on the site. If the barriers
12    are not removed, the plaintiff will face unlawful and discriminatory barriers
13    again.
14      20. Given the obvious and blatant nature of the barriers and violations
15    alleged herein, the plaintiff alleges, on information and belief, that there are
16    other violations and barriers on the site that relate to his disability. Plaintiff will
17    amend the complaint, to provide proper notice regarding the scope of this
18    lawsuit, once he conducts a site inspection. However, please be on notice that
19    the plaintiff seeks to have all barriers related to his disability remedied. See
20    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
21    encounters one barrier at a site, he can sue to have all barriers that relate to his
22    disability removed regardless of whether he personally encountered them).
23
24    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
25    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
26    Defendants.) (42 U.S.C. section 12101, et seq.)
27      21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
28    again herein, the allegations contained in all prior paragraphs of this


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 1    complaint.
 2      22. Under the ADA, it is an act of discrimination to fail to ensure that the
 3    privileges, advantages, accommodations, facilities, goods and services of any
 4    place of public accommodation is offered on a full and equal basis by anyone
 5    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 6    § 12182(a). Discrimination is defined, inter alia, as follows:
 7             a. A failure to make reasonable modifications in policies, practices,
 8                 or procedures, when such modifications are necessary to afford
 9                 goods,    services,    facilities,   privileges,    advantages,   or
10                 accommodations to individuals with disabilities, unless the
11                 accommodation would work a fundamental alteration of those
12                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
13             b. A failure to remove architectural barriers where such removal is
14                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
15                 defined by reference to the ADA Standards.
16             c. A failure to make alterations in such a manner that, to the
17                 maximum extent feasible, the altered portions of the facility are
18                 readily accessible to and usable by individuals with disabilities,
19                 including individuals who use wheelchairs or to ensure that, to the
20                 maximum extent feasible, the path of travel to the altered area and
21                 the bathrooms, telephones, and drinking fountains serving the
22                 altered area, are readily accessible to and usable by individuals
23                 with disabilities. 42 U.S.C. § 12183(a)(2).
24      23. When a business provides facilities such as sales or transaction counters,
25    it must provide accessible sales or transaction counters.
26      24. Here, accessible sales or transaction counters have not been provided.
27      25. The Safe Harbor provisions of the 2010 Standards are not applicable
28    here because the conditions challenged in this lawsuit do not comply with the


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 1    1991 Standards.
 2       26. A public accommodation must maintain in operable working condition
 3    those features of its facilities and equipment that are required to be readily
 4    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5       27. Here, the failure to ensure that the accessible facilities were available
 6    and ready to be used by the plaintiff is a violation of the law.
 7
 8    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 9    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10    Code § 51-53.)
11       28. Plaintiff repleads and incorporates by reference, as if fully set forth
12    again herein, the allegations contained in all prior paragraphs of this
13    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14    that persons with disabilities are entitled to full and equal accommodations,
15    advantages, facilities, privileges, or services in all business establishment of
16    every kind whatsoever within the jurisdiction of the State of California. Cal.
17    Civ. Code §51(b).
18       29. The Unruh Act provides that a violation of the ADA is a violation of the
19    Unruh Act. Cal. Civ. Code, § 51(f).
20       30. Defendants’ acts and omissions, as herein alleged, have violated the
21    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22    rights to full and equal use of the accommodations, advantages, facilities,
23    privileges, or services offered.
24       31. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25    discomfort or embarrassment for the plaintiff, the defendants are also each
26    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
27    (c).)
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 1           PRAYER:
 2           Wherefore, Plaintiff prays that this Court award damages and provide
 3    relief as follows:
 4        1. For injunctive relief, compelling Defendants to comply with the
 5    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 6    plaintiff is not invoking section 55 of the California Civil Code and is not
 7    seeking injunctive relief under the Disabled Persons Act at all.
 8        2. Damages under the Unruh Civil Rights Act, which provides for actual
 9    damages and a statutory minimum of $4,000 for each offense.
10        3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
      Dated: December 11, 2019         CENTER FOR DISABILITY ACCESS
13
14
                                       By:
15
16                                     ______________________________

17                                            Russell Handy, Esq.
                                              Attorney for plaintiff
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